            Case 4:21-cv-00941-JM Document 32 Filed 04/01/22 Page 1 of 15




                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

STONE WORKS, LLC,                                      )
                                                       )
                       PLAINTIFF                       )
                                                       )
v.                                                     )      CASE NO. 4:21-cv-941
                                                       )
RANDY SIMS; MEGAN SIMS; WILLIAM                        )
THOMAS; STONE CONCEPTS, LLC; MARTY                     )
HESCH, and EDWARD FRALEY                               )
                                                       )
                       DEFENDANTS                      )

                  PLAINTIFF’S RESPONSE TO DEFENDANTS FRALEY’S MOTION FOR
                         PROTECTIVE ORDER AND INCORPORATED BRIEF

       Comes the Plaintiff, Stone Works, LLC, by and through its attorneys Patrick R. James with

James, House, Swann & Downing, P.A., Timothy J. Giattina, with Lassiter & Cassinelli, PLLC

and Erin Cassinelli, with Lassiter & Cassinelli, and for its Response to Motion for Protective Order

and Incorporated Brief, state:

                                           I.        Introduction

       1.       Defendant Edward Fraley’s Motion was improvidently filed and raises issues with

this Court which counsel previously resolved in a conference call approximately one hour before

Defendant’s filing of the Motion.

       2.       Specifically, a Zoom call was conducted with all counsel commencing at 2:00 p.m.,

Monday, March 28, 2022. In that call the parties agreed to move the date of Mr. Fraley’s and Mr.

Hesch’s depositions to April 12th and April 26th, 2022, respectively.




                                                 1
            Case 4:21-cv-00941-JM Document 32 Filed 04/01/22 Page 2 of 15




       3.       Shortly after the phone call Defendant Fraley filed his Motion for Protective Order

representing that the parties had not been able to resolve issues between themselves after a meet

and confer. This included the scheduling of Defendant Fraley’s deposition on April 1st, 2022---

which had been resolved in the meet and confer.

       4.       Further, the urgency to take depositions arising from Defendant Fraley’s Motion

for Summary Judgment and the deadline to respond was resolved by this Court in its Order dated

March 24, 2022 setting the date for the Response as May 27, 2022.

       5.       In light of the fact that the issue of the dates for depositions has been resolved

Plaintiff will not burden the Court or the record with the extensive communications concerning

the dates for the depositions.

                                     II. The Remaining Issues

       6.       There are two remaining issues for Defendant’s Motion for Protective Order. The

first is Defendant Fraley’s request for an advisory opinion to substantially limit the scope of his

deposition.

       7.       The second is whether the deposition of Defendant Fraley should take place in Little

Rock, Arkansas where all counsel except one are located and where all parties except one are

located or in Springfield, Missouri where that party’s attorney maintains an office.

       8.       Each of these issues will be discussed in turn.

                 A. Defendant Fraley’s Request to Restrict Deposition Discovery

       9.       Defendant Fraley seeks an Order from this Court restricting the scope and substance

of the very first deposition to be conducted in this case. His Motion seeks to alter the Federal Rules

of Civil Procedure with regard to the conducting of depositions and offensively seeks an advisory

decision limiting the scope of depositions prior to a single question being asked in depositions.



                                                  2
             Case 4:21-cv-00941-JM Document 32 Filed 04/01/22 Page 3 of 15




           10.   Rules 26-45 of the Federal Rules of Civil Procedure generally address discovery in

civil proceedings and set forth procedures for resolving discovery disputes. This is apparently not

good enough for Defendant Fraley.

           11.   As is set forth below Defendant’s Motion is both unwarranted and premature.

                                            B. The Pleadings

           12.   In addressing Defendant Fraley’s Motion, one must first review the allegations

 contained in the September 10, 2021 Complaint and the October 8, 2021 Agreed Temporary

 Restraining Order.

           13.   The Complaint makes numerous allegations regarding the Defendant’s wrongful

acts and asserts causes of action against Fraley for conversion, tortious interference with business

expectancy, theft of trade secrets, unauthorized computer programs access and theft, unauthorized

access to property, civil conspiracy, violation of the Arkansas Deceptive Trade Practices Act, and

unjust enrichment. For the purposes of Defendant Fraley’s Motion these allegations must be taken

as true.

           14.   The allegations and issues in the Complaint are broad and far reaching and will

require extensive discovery, including depositions, to fully explore and expose the actions of

Defendants that give rise to this litigation.

           15.   The Agreed Temporary Restraining Order, which Fraley’s counsel signed and

agreed to, required Defendants to return certain records (Paragraph 4); restrained all Defendants

from revealing or utilizing Plaintiff’s confidential information or trade secrets in their knowledge

or possession, or threatening to reveal this information (Paragraph 6); restrained all Defendants

from engaging in unfair competition or other conduct otherwise prohibited by law (Paragraph 7);

requires that records be maintained and not destroyed; (Paragraph 8); restrained Defendants from



                                                  3
          Case 4:21-cv-00941-JM Document 32 Filed 04/01/22 Page 4 of 15




engaging in conduct in violation of the prohibitions contained in the Order or assisting or aiding,

directly or indirectly, any other person to engage in such conduct.

        16.     Defendants’ compliance or lack of compliance with these obligations will be a

material area of inquiry.

        17.     On March 15, 2022, Defendant Fraley filed a Motion for Summary Judgment

attaching a broad and conclusory Declaration of Defendant Fraley injecting additional facts and

issues in this case.

        18.     Without legal support or logic, Defendant Fraley relies on his own representations

in his Motion for Summary Judgment and attached Statement of Facts and Declaration as the

“facts” upon which the Court should base its determination. Plaintiff disputes the purported “facts”

in Fraley’s Motion. Fraley ignores the factual averments of the Complaint and asks this Court to

“take his word for it,” which is patently contrary to law.

        19.     By way of example only, Defendant Fraley argues that he did not sell Centurion’s

products to third party installers; that Plaintiff simply used Centurion products for its own masonry

projects – i.e., installing the products directly for the end users; that he does not have any

knowledge of Plaintiff’s customers; and that he has not made contact with any such customers.

ECF No. 27, SUMF ¶’s 12 and 31. Plaintiff disputes these “facts.” In fact, Defendant Fraley was

introduced to and has personally interacted with Plaintiff’s customers.

        20.     The Complaint, Agreed Temporary Restraining Order, Motion for Summary

Judgment and Defendant Fraley’s own Declaration make the full and complete depositions of

Defendant Fraley all the more important.




                                                 4
          Case 4:21-cv-00941-JM Document 32 Filed 04/01/22 Page 5 of 15




               C.      Defendant Fraley’s Proposed Discovery Restrictions

        21.    In his Motion and Brief, Defendant Fraley seeks to prohibit areas of inquiry related

to his Motion for Summary Judgment contending that such information is “irrelevant, non-

discoverable, and unnecessary ….” This is a very low standard, and certainly not the standard for

the proper scope of discovery

        22.    Areas of inquiry Defendant Fraley seeks to exclude or limit include the following:

               1.      Fraley’s compensation arrangement with Centurion Stone and how
                       much compensation he has received from Centurion.

        23.    In addition to this information being calculated to lead to the discovery of relevant

evidence, Defendant Fraley put his compensation directly in issue in his Declaration in support of

Summary Judgment.

        24.    In paragraph 4 of his Declaration, Defendant Fraley put in issue his role as an

independent contractor with Centurion and described, in a self-serving way, his dealings with

dealers, i.e, all dealers, not just Plaintiff Stone Works. Defendant went on to state that he did not

make any direct sales which, as discussed below, in previous pleadings he represented that he sells

masonry products in several states.

        25.    In paragraph 26 of his Declaration Fraley denied receiving financial gain or other

benefit as a result of Centurion ceasing its relationship with Stone Works as a dealer. Plaintiff

believes the evidence will be that Defendant Fraley had substantial personal gain from the sale of

Centurion masonry products. Defendant Fraley also profited as a result of terminating Plaintiff as

a Centurion dealer and making Co-Defendant Stone Concepts a Centurion dealer in the previous

territory of Plaintiff. Defendant Fraley sells Centurion products in these territories.

        26.    In paragraph 27 of his Declaration Fraley denies any financial gain or other benefit

as a result of his improper use and publication of an internal confidential document of Plaintiff

                                                  5
          Case 4:21-cv-00941-JM Document 32 Filed 04/01/22 Page 6 of 15




forwarded by its then-employee Plaintiff William Thomas to Fraley. Defendant contends that this

communication resulted in him terminating Plaintiff as a dealer of Centurion. Plaintiff anticipates

the evidence will be that Plaintiff’s illegally obtained confidential information was used, at least

in part, to justify Defendants’ actions. Defendant Fraley’s compensation arrangement with

Centurion is directly in issue in this case and is calculated not only to lead to discovery of relevant

evidence but also to lead to evidence supporting Plaintiff’s claim of Defendants’ conspiracy.

       27.     Plaintiff would add that the parties are in the process of agreeing to a Protective

Order which would protect any interest Fraley has with confidentiality.

               2.      Communications Between Defendant Fraley and Co-Defendants
                       Randy Sims, Megan Sims, William Thomas, and Marty Hesch That
                       Are Not Related To Information Provided By Defendant-Employees
                       To Defendant Fraley About Plaintiff

       28.     In other words, Defendant Fraley does not want evidence developed regarding the

conspiracy of the Defendants to remove Plaintiff as a Centurion dealer and to replace it with Stone

Concepts.

       29.     Nor does he want discovery as to the predatory steps taken by Defendants in the

furtherance of their conspiracy.

       30.     Defendant Fraley’s request also ignores the allegations contained in Plaintiffs’

Complaint which must be taken as true, including the following:

               27.     On August 12, 2021, Plaintiff spoke with Ed Fraley, the Sales
       Representative for Centurion Stone, of which Plaintiff was a distributor. Fraley
       advised he had a received      a confidential document belonging to Plaintiff (a
       credit application from Plaintiff to another manufacturer and part of the
       confidential information illegally removed from      Plaintiff’s computer systems
       and files) which indicated to him that Plaintiff was utilizing Centurion Stone’s
       competitor’s products for some of Plaintiff’s customer’s projects. He indicated
       that due to his belief Plaintiff would be selling a competitor’s product, Plaintiff
       would no longer be permitted to purchase Centurion Stone products from the
       factory and would in the future have to buy at a higher price from Stone Concepts,
       LLC, who buys Centurion Stone products for resale and who, as noted above, now

                                                  6
          Case 4:21-cv-00941-JM Document 32 Filed 04/01/22 Page 7 of 15




        employs the Sims Defendants. In the past, Defendant Fraley stated to
        representatives of     Plaintiff and others that he would “smoke out” Plaintiff or
        other businesses who did not conduct business as he wished. Upon information and
        belief, Fraley has engaged in similar behavior towards other businesses.

                 28.    Further, Plaintiff’s current orders of Centurion Stone have been
        delayed for months, causing Plaintiff to be unable to finish its ongoing projects
        and unable to collect revenues related to these projects. After multiple inquiries
        about its pending orders, following the conversation between Plaintiff and Ed
        Fraley discussed above, Centurion advised Plaintiff that as a result of that
        call, Centurion will require up-front payment to fulfill all pending orders, which
        is not standard business practice and has caused Plaintiff damages.

              29.     Upon information and belief, Fraley has engaged in a pattern of
        conduct designed to injure or substantially lessen competition and to create a
        monopoly in commerce related to the manufacture and distribution of stone veneer
        and masonry.

                30.     As evidenced by Defendants continued, unabated scheme, it is
        crystal clear that Defendants will stop at nothing to destroy Plaintiff’s business for
        their own benefit.

        31.    Defendant Fraley has good reason to try to exclude questions regarding

communications with Co-Defendants Megan Sims and Randy Sims, previous employees of

Plaintiff and then, at the time of filing of the Complaint, employees of Co-Defendant Stone

Concepts. Plaintiff expects the evidence will be that Defendant Fraley knew these two key Co-

Defendants who were stealing and stole records and other valuable information from Plaintiff

Stone Works and communicated with them both before and after their employment with Plaintiff.

        32.    Some of these communications occurred while Co-Defendant Megan Sims was

downloading and stealing electronic information contained on Stone Works’ computer. Complaint

¶ 16.

        33.    Further, Randy Sims (while an employee of Plaintiff and afterwards) was directly

communicating with Co-Defendants Hesch and Fraley. The following phone log evidences the

conspiracy between the Defendants:



                                                  7
         Case 4:21-cv-00941-JM Document 32 Filed 04/01/22 Page 8 of 15




       Date           Time                  Parties                             Minutes
       07/02/2021     03:05 p.m.            Randy Sims & Ed Fraley        15-minute phone call

       07/07/2021     04:33/06:44 p.m.      Sims, Fraley & Hesch          phone calls
                                                                          culminating with a 41
                                                                          minute phone call
                                                                          with Sims & Hesch

       07/09/2021     07:12 a.m.            Sims & Hesch                  10-min phone call


       07/22/2021     09:04 a.m.            Randy Sims & Ed Fraley         6-minute phone call

       07/30/2021     5:18-5:31 p.m.        Hesch, Sims & Fraley          2 calls from Hesch
                                                                          then 10 phone call
                                                                          with Sims & Fraley 1

       07/30/2021     05:31 p.m.            Randy Sims & Ed Fraley        10-minute phone call

       08/03/2021     10:36 a.m.            Ed Fraley & Randy Sims        11-minute phone call

       08/03/2021     04:05 p.m.            Ed Fraley and Randy Sims      9-minute phone call

       08/03/2021     04:30-04:35 p.m.      Randy Sims & Marty Hesch            4 Texts

       08/03/2021     05:36-05:40 p.m.      Randy Sims & Marty Hesch            3 Texts

       08/03/2021     07:19-07:20 p.m.      Randy Sims & Marty Hesch Sims calling Hesch
                                                                     and then immediately
                                                                     calling Fraley

       08/04/2021     06:43 p.m.            Randy Sims & Marty Hesch              Text

       08/04/2021     08:47 p.m.            Randy Sims & Ed Fraley                Text

       08/04/2021     05:47 p.m.            Sims & Hesch                  25-minute phone call

       08/05/2021     12:14 p.m.            Randy Sims & Ed Fraley         2-minute phone call




1
 For the month of July there were 93 phone calls and/or texts between Defendant Fraley and Co-
Defendant Sims. Many of the text messages contained picture videos. Defendants have not yet
produced these text messages. Plaintiff anticipates to be subpoenaed phone records of Defendant’s
Fraley, Randy Sims, Marty Hesch, Megan Sims and William Thomas will provide further evidence
of Defendants’ conspiracy.
                                               8
             Case 4:21-cv-00941-JM Document 32 Filed 04/01/22 Page 9 of 15




        08/05/2021      12:19 p.m.           Randy Sims & Ed Fraley        16-minute phone call

        34.      Further, on or around the same date Defendant Fraley was terminating Plaintiff

Stone Work’s dealership with Centurion, Co-Defendants Randy Sims and Megan Sims visited

Centurion’s headquarters. Complaint ¶ 22

        35.      Defendant Fraley’s communications with Co-Defendants Randy Sims and Megan

Sims, about which Defendant Fraley seeks to prohibit discovery, are the very communications

which are in furtherance of the conspiracy. There is no basis for Defendant Fraley’s requested

restrictions.

                 3.     Communications Between Defendant Fraley and Centurion Stone
                        CEO Tim Pardue that Was Not Related To Centurion Stone’s
                        Decision To Cease Its Relationship With Plaintiff As A Centurion
                        Stone Dealer


        36.      Tim Pardue is the CEO of Centurion and is a key witness in this case, as is

Centurion. Plaintiff anticipates that after the deposition of Defendants Fraley, Mr. Pardue and/or

Centurion Stone could potentially be added as Defendants in this case.

        37.      The deadline to amend pleadings and add additional parties is May 5, 2022. As a

result, it is important that Defendant Fraley’s full and complete deposition be conducted before

this date.

        38.      Plaintiff anticipates the evidence will be that Defendant Marty Hesch (owner of

Defendant Stone Concepts), Defendant Ed Fraley, and Tim Pardue have a history of personal

dealings and relationships. It is also anticipated that evidence will be that Tim Pardue had

knowledge of, approved of and possibly participated in Defendants’ conspiracy to remove Plaintiff

Stone Works as a dealer of Centurion Stone and replace it with Stone Concepts.




                                                9
         Case 4:21-cv-00941-JM Document 32 Filed 04/01/22 Page 10 of 15




        39.     In paragraph 6 of his Declaration, Defendant Fraley put all dealer relationships with

Centurion in issue when he alleged “Centurion does not enter into written contracts with its dealers,

and therefore, Plaintiff never had a written contract with Centurion that governed their relationship.

As such, Plaintiff’s role as a dealer for Centurion was always within Centurion’s discretion.”

        40.     Plaintiff expects the evidence will be that Defendant Fraley and Centurion sell

millions of dollars of product to Centurion’s dealers and that these sales are documented by

thousands of invoices, manuals, and other documents. Defendant Fraley received commissions on

all or most of these sales.

        41.     In paragraphs 8 through 10 of his Declaration Defendant Fraley broadly discusses

his relationship with dealers of Centurion including “Centurion prefers its dealers to exclusively

sell its stone products (and not those of competitors), which I communicated directly to Plaintiff

on multiple occasions.” Declaration paragraph 10.

        42.     Plaintiff anticipates the evidence will be that dealers were treated differently,

including Fraley’s son’s Centurion dealership, which Defendant Fraley previously owned. Some

were allowed to sell other products, some were not.

        43.     During the relevant time periods Plaintiff’s orders with Centurion were

inexplicably delayed and Defendant Fraley was not responsive to calls.

        44.     It is also anticipated that the evidence will be that Defendant Fraley, Tim Pardue,

and Centurion have a history of engaging in similar schemes with similarly situated dealers. As

such, Defendant Fraley’s actions and course of conduct similar to those employed against

Plaintiff, towards similarly situated dealers are directly relevant in this case, including its actions

toward Plaintiff.




                                                  10
          Case 4:21-cv-00941-JM Document 32 Filed 04/01/22 Page 11 of 15




                            4. Defendant Fraley’s Employment With Centurion Stone

        45.       Again, Defendant Fraley’s employment with Centurion was directly put in issue

by in his Declaration, including:

              •   In paragraph 3 of his Declaration Defendant Fraley discusses his work with

                  Centurion and his role as a manufacturer’s representative since 2004.

              •   In paragraph 4 of his Declaration Defendant Fraley discusses his role as an

                  independent contractor on behalf of Centurion and the services he provides to

                  dealers of Centurion and denies making direct sales.

              •   However, in his September 21, 2021 Motion to Dissolve Ex Parte Restraining

                  Order, Defendant Fraley states he “sells masonry products in multiple states.”

                  Paragraph 2.

              •   Fraley also states he “is not employed by Centurion but he sells its products.”

                  Paragraph 10(a). As discussed above, this is contrary to Defendant Fraley’s

                  representation in paragraph 4 of his Declaration that, “I do not make any direct

                  sales.”

        46.       All of these issues need to be fleshed out in depositions.

                             5. Pricing Information For Centurion Stone’s Products

        47.       Plaintiff anticipates the evidence will be that different dealers received different

pricing and treatment from Defendant Fraley.

        48.       Further, part of Defendant Fraley’s compensation was from revenue generated by

Plaintiff, Stone Works, Co-Defendant, Stone Concepts, and other dealers, based upon sales of

Centurion products.




                                                   11
         Case 4:21-cv-00941-JM Document 32 Filed 04/01/22 Page 12 of 15




        49.     Disparate pricing which Defendant Fraley and Centurion provided to dealers is also

relevant as it allowed Defendant Fraley and Centurion to undercut Plaintiff and other dealers with

their customers.

        50.     Defendant Fraley’s compensation and course of conduct with regard to pricing is

directly relevant to the issues in this case.

                6.      Communication Between Defendant Fraley and Any Officer, Agent
                        or Employer of Centurion Stone That Is Not Related to Centurion

        51.     Plaintiff’s do not quite understand what this means. Regardless, this issue appears

to be addressed in paragraph 3, above.

D.      Discussion

        52.     Discovery, particularly including depositions, is calculated to lead to the discovery

of relevant evidence.

        53.     If Defendant Fraley has objections during the course of the deposition he can assert

those objections. If he feels that the deposition is being abused, the Rules of Civil Procedure

provide a process to address this including terminating depositions and filing a motion with the

Court. F.R.C.P. Rule 30(d)(3).

        54.     The Rules of Civil Procedure work. They are designed to address discovery

disputes and provide guidelines to the parties as to those issues.

        55.     Although well known to the Court, the method and manner of objecting in

depositions should be repeated:


                (2) Objections. An objection at the time of examination whether to
                evidence, to a party’s conduct, to the officer’s offers qualifications, to the
                manor of taking the deposition, or any other aspects of the deposition must
                be noted on the record, but the examination still proceed; the testimony is
                taken subject to any objection. An objection must be stated concisely in a
                nonargumentative and non-suggestive manner. A person may instruct a

                                                 12
         Case 4:21-cv-00941-JM Document 32 Filed 04/01/22 Page 13 of 15




                    deponent not to answer only when necessary to preserve the privilege, to
                    enforce a limitation ordered by the court, or to present a motion under Rule
                    30(d)(3).
FRCP Rule 30(c)(2). In his Motion Defendant Fraley seeks to thwart these requirements.

        56.         Motions such as Fraley’s should be rejected and not be allowed to the new norm

for the start of depositions.

                  V. Location for Defendant Fraley’s Depositions

        57.         Finally, Defendant Fraley opposes his deposition taking place in Little Rock as

opposed to Springfield, Missouri. However, Little Rock should not be an issue or a surprise for

him because:

              •     In fulfillment of his duties with Centurion Defendant Fraley regularly called upon

                    Plaintiff’s and Stone Concepts’ offices in Arkansas.

              •     Defendant Fraley’s territory for Centurion includes Central Arkansas.

              •     Defendant Fraley received compensation from sales in Central Arkansas.

              •     Defendant Fraley sold millions of dollars of Centurion product in Central Arkansas.

              •     Three out of the four counsel for Defendant Farley are in Little Rock (Bud

                    Cummins, Dan Carter, and Paul James.)

              •     All counsel in this case except one are in Little Rock.

              •     Pro Se Defendants Megan Sims, Rand Sims, and William Thomas all reside in

                    Central Arkansas.

              •     The venue where the litigation was initially filed was Central Arkansas.

              •     Plaintiff and most of the witnesses in Little Rock reside or do business in Central

                    Arkansas.

              •     The wrongful acts alleged in the Complaint mainly occurred in Central Arkansas.


                                                     13
          Case 4:21-cv-00941-JM Document 32 Filed 04/01/22 Page 14 of 15




               •   Defendant Fraley removed this case to the United States District, Eastern District

                   of Arkansas.

         58.       In short, Defendant Fraley should not be surprised by a deposition in Little Rock -

he should have expected it.

         59.       Plaintiff recognizes that this is a decision governed by the sound discretion of the

Court.

         60.       Based on the forgoing it simply does not make sense for counsel and the pro se

Defendants to have to load up and spend three (3) days and two (2) nights for Defendant Fraley’s

deposition in Springfield, Missouri (one day for traveling, one day for depositions, one day for

return travel).

         61.       Nor is Zoom a reasonable alternative. The entire seven (7) hour time period allotted

under the Federal Rules of Civil Procedure will likely be needed and Zoom will significantly slow

down this process, particularly with the number of counsel and pro se defendants involved.

Defendant Fraley’s deposition is one of the key depositions in this case and should be in person.

                                                   Conclusion

         62.       Defendant Fraley seeking an advisory opinion from this Court prior to the

conducting of depositions is contrary to the Federal Rules of Civil Procedure and is improper. The

request should be denied.

         63.       Finally, Defendant Fraley’s deposition should take place in Little Rock as Noticed.

         64.       Plaintiff anticipates that in his Reply Defendant Fraley will attempt to explain his

contradictions and walk back some of his statements. In doing so it further supports the need for

Defendant Fraley’s full and complete deposition to flesh out these inconsistencies.




                                                    14
         Case 4:21-cv-00941-JM Document 32 Filed 04/01/22 Page 15 of 15




       65.     For the above reasons, Plaintiff respectfully requests that Defendant Fraley’s

Motion for Protective Order be denied, and for all other just and proper relief.



                                                     Respectfully submitted,

                                                     /s/ Patrick R. James
                                                     Patrick R. James, ABN 82084
                                                     JAMES, HOUSE, SWANN & DOWNING, P.A.
                                                     Post Office Box 3585
                                                     Little Rock, Arkansas 72203
                                                     (501) 372-6555 – phone
                                                     Email: pjames@jamesandhouse.com


                                                     Erin Cassinelli
                                                     LASSITER & CASSINELLI
                                                     300 S. Spring St., Suite 800
                                                     Little Rock, AR 72201
                                                     erin@lcarklaw.com


                                                     Timothy J. Giattina
                                                     HODGE CALHOUN GIATTINA, PLLC
                                                     300 S. Spring St., Suite 800
                                                     Little Rock, AR 72201
                                                     tim@hcglawoffice.com

                                                     Attorneys for Plaintiff




                                                15
